                        Case 4:11-cr-00019-DPM                   Document 25          Filed 05/13/11          Page 1 of 6
 A0245B        (Rev. 09/08) Judgment in a Criminal Case
                                                                                                                               FILED
                                                                                                                       EAST~R~ g:SSTTR1CT COURT
               Sheet I                                                                                                               RICT ARKANSAS



                                           UNITED STATES DISTRICT COURT JAMES
                                                                                                              By:
                                                           Eastern District of Arkansas                             ~/'t7'1rft~~~
                                                                          )
              UNITED STATES OF AMERICA                                    )      JUDGMENT IN A CRIMINAL CAS
                                   v.                                     )
                    Ramona Michelle Pippen                                )
                                                                          )      Case N urnber: 4: 11-cr-19-1-DPM
                                                                          )      USM Number: 26262-009
                                                                          )
                                                                          )       Kim Driggers
                                                                                 Defendant's Attorney
 THE DEFENDANT:
 Itpleaded guilty to count(s)           one of the Information, after waiving Indictment proceedings.

 D pleaded nolo contendere to count(s)
    which was accepted by the court.
. D was found guilty on count(s)
    after a plea of not guilty.

 The defendant is adjudicated guilty of these offenses:

 Title & Section                  Nature of Offense                                                        Offense Ended
  18 U.S.C. § 371                   Conspiracy to Commit Bank Fraud, a Class D felony                       4/30/2009                   1




        The defendant is sentenced as provided in pages 2 through         ~_6_ _ of this judgment. The sentence is imposed pursuant to
 the Sentencing Reform Act of 1984.
 D The defendant has been found not guilty on count(s)
 D Count(s)     ------------
                                                          D is     D are dismissed on the motion of the United States.
          It is ordered that the defendant must notifY the United States attorney for this district within 30 days ofany change of name, residence,
 or mailingaddress until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution,
 the defenaant must notifY the court and United States attorney of material changes in economIc circumstances.

                                                                           4/27/2011
                                                                          Date ofimposition of Judgment




                                                                           D.P. MARSHALLJR.                            u.s. DISTRICT JUDGE
                                                                          Name of Judge                               Title of Judge



                                                                          Date   J3 ~ ').f)II
                        Case 4:11-cr-00019-DPM                  Document 25           Filed 05/13/11         Page 2 of 6
AO 2458      (Rev. 09/08) Judgment in Criminal Case
             Sheet 2 - Imprisonment

                                                                                                        Judgment -   Page   _-=2,-- of   6
DEFENDANT: Ramona Michelle Pippen
CASE NUMBER: 4:11-cr-19-1-DPM


                                                              IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
    Three months.




      'it The court makes the following recommendations to the Bureau of Prisons:
    Defendant Ramona M. Pippen should be imprisoned in the facility closest to Little Rock, Arkansas to facilitate family visits.



      o The defendant is remanded to the custody of the United States Marshal.
      o The defendant shall surrender to the United States Marshal for this district:
        o at                                  0 a.m.       o p.m. on
        o as notified by the United States Marshal.
      'it The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          rrt before 2 p.m. on -6/6/2011
                                     -----------
          o as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.

                                                                    RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                           to

a                                                     , with a certified copy of this judgment.



                                                                                                     UNITED STATES MARSHAL



                                                                            By -------=====-:-::-:c:-:c=,.......,...,=-------,----...,.--,-----
                                                                                                  DEPUTY UNITED STATES MARSHAL
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AO 2458       (Rev. 09/08) Judgment in a Criminal Case
              Sheet 3 - Supervised Release

                                                                                                           Judgment-Page       3    of         6
DEFENDANT: Ramona Michelle Pippen
CASE NUMBER: 4: 11-cr-19-1-DPM
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
 Twenty-one months.

        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any' unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
thereafter, as determined by the court.
D        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check. ifapplicable.)

         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, ifapplicable.)
         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check. ifapplicable.)

         The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
D        as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
         works, is a student, or was convicted of a qualifying offense. (Check. ifapplicable.)

D        The defendant shall participate in an approved program for domestic violence. (Check. ifapplicable.)
        If this judgment im~ses a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
    I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;          .
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used. distributed, or administered;
  9)      the defendant shall not associate with any I?ersons engas.ed in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probatIOn officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the d~fe.ndant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permIssIon of the court; and

 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or p-ersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
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AD 245B   (Rev. 09/08) Judgment in a Criminal Case
          Sheet 3A - Supervised Release

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DEFENDANT: Ramona Michelle Pippen
CASE NUMBER: 4:11-cr-19-1-DPM

                                    ADDITIONAL SUPERVISED RELEASE TERMS
 The first nine months of the twenty-one-month supervised release period must be satisfied through home detention, which
 will be electronically monitored. Defendant Ramona M. Pippen may go to work, attend church proceedings, seek medical
 care, visit her probation officer, and take any course of conduct reasonably necessary to care for her four-year-old
 dependent, Kate Pippen.

 Mrs. Pippen must bear all costs and expenses associated with her electronic monitoring during the home-detention period.

 Following the nine-month home-detention period, the electronic monitoring shall cease and the supervised release period
 shall be completed without electronic monitoring but otherwise in accordance with this Judgment.

 Defendant Ramona M. Pippen may not be employed by any institution that is FDIC insured nor any federal credit union.
 Title 12, United States Code, Sections 1785(d)(1) and 1829(a)(1).

 To the extent a standard condition of release does not cover the issue, Mrs. Pippen must disclose financial information as
 requested by the U.S. Probation Office.
AO 2458
                     Case 4:11-cr-00019-DPM
          (Rev. 09/08) Judgment in a Criminal Case
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          Sheet 5 - Criminal Monetary Penalties

                                                                                                         Judgment -   Page   _--,,-5_   of      6
DEFENDANT: Ramona Michelle Pippen
CASE NUMBER: 4:11-cr-19-1-DPM
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                    Assessment                                            Fine                                 Restitution
TOTALS            $ 100.00                                              $ 0.00                               $ 115,949.47


o The determination of restitution is deferred until - - - - -. An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

r;t The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified othelWise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
     before the United States is paId.

Name of Payee                                                        Total Loss·               Restitution Ordered           Priority or Percentage
 Ironworks Enterprises, Inc.                                                     $115,949.47              $115,949.47          100%
 1012 North Beech, North Little Rock 72114




TOTALS                              $ - - - - - - -115,949.47                $                 115,949.47
                                                   '------                       ------'----

rif Restitution amount ordered pursuant to plea agreement $ 115,949.47  ----------


o    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

rif The court determined that the defendant does not have the ability to pay interest and it is ordered that:
     r;t the interest requirement is waived for the             0 fme     rj restitution.
     o the interest requirement for the              0   fine    0 restitution is modified as follows:


* Findings for the total amount oflosses are required under Chapters 109A, 110, II0A, and 113A ofTitle 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
AO 2458
                      Case 4:11-cr-00019-DPM
           (Rev. 09/08) Judgment in a Criminal Case
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           Sheet 6 - Schedule of Payments

                                                                                                               Judgment - Page    _-=-6_ of              6
DEFENDANT: Ramona Michelle Pippen
CASE NUMBER: 4:11-cr-19-1-DPM

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:
A     D    Lump sum payment oU - - - - - - - due immediately, balance due

           D     not later than - - - - - - - - - - , or
           D     in accordance     D C, D D, D E, or                            D F below; or
B     D    Payment to begin immediately (may be combined with                D C,         D D, or       D F below); or
C     D Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D     D Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or
E     D Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or
F    riI Special instructions regarding the payment of criminal monetary penalties:
           The mandatory special assessment was paid by Defendant Ramona M. Pippen as of 27 April 2011. Fine waived
           due to inability to pay.. Regarding her mandatory restitution obligation to Ironworks Enterprises, Inc., Mrs. Pippen
           must, while incarcerated, pay 50 percent per month of all funds available to her. Beginning the first month of
           supervised release, she must pay 10 percent per month of her monthly gross income to the company. The 10
           percent per month payment obligation must continue until full restitution is made. Interest is waived.

Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal monet~ penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made througn tlte Federal Bureau of Pnsons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



riI Joint and Several
     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, ifappropriate.
      Larry G. Pippen, 4:11-cr-19-2-DPM, $115949.47, Ironworks Enterprises, Inc.
      Ramona Michelle Pippen, 4:11-cr-19-1-DPM, $115949.47, Ironworks Enterprises, Inc.

      The total amount is $115949.47, which is also the joint and several amount.
D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
